433 F.2d 1015
    Ronald Warren BROWN, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 30073 Summary Calendar.**Rule 18, 5th Cir.; see Isbell Enterprises, Incv.Citizens Casualty Co. of New York, et al., 5th Cir. 1970,
    
      431 F.2d 409 Part I.
      United States Court of Appeals, Fifth Circuit.
      Oct. 28, 1970.
      Ronald Warren Brown, pro se.
      William T. Morton, Asst. U.S. Atty., Augusta, Ga., R. Jackson B. Smith, Jr., U.S., Atty., Richard C. Chadwick, Asst. U.S. Atty., Savannah, Ga., for appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from the district court's denial of a motion to vacate judgment and sentence, 28 U.S.C. 2255.
    
    
      2
      The appellant has contended that (1) he did not validly waive counsel at his parole revocation hearing and sentencing; and (2) the district court erred in failing to order a sanity hearing for him at that time, although no request was made for such a hearing.
    
    
      3
      The district court held that the appellant's contentions are refuted by the files and records of the case.  Our examination of the record leaves us without doubt that this ruling is correct.  Accordingly the order appealed from is affirmed.
    
    
      4
      Affirmed.
    
    